
702 S.E.2d 302 (2010)
Donald C. McCASKILL
v.
DEPARTMENT OF STATE TREASURER, RETIREMENT SYSTEMS DIVISION.
No. 292A10.
Supreme Court of North Carolina.
October 7, 2010.
Thomas H. Stark, Chapel Hill, for Donald C. McCaskill.
Robert M. Curran, Special Deputy Attorney General, for Department of State Treasurer, Retirement Systems Division.
Prior report: ___ N.C.App. ___, 695 S.E.2d 108.

ORDER
Upon consideration of the petition for discretionary review, filed by Petitioner on the 20th of July 2010 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Allowed by order of the Court in conference, this the 7th of October 2010."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to *303 this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
Accordingly, the new brief of the Petitioner shall be filed with this Court not more than 30 days from the date of certification of this order.
